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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, et al.,               :     Civil No. 1:16-CV-2145
                                            :
      Plaintiffs,                           :
                                            :     (Judge Jones)
            v.                              :
                                            :     (Magistrate Judge Carlson)
THE MILTON HERSHEY SCHOOL                   :
AND SCHOOL TRUST, et al.,                   :
                                            :
      Defendants.                           :

                             AMENDED ORDER

      Accordingly, for the reasons set forth in the      Memorandum Opinion,

previously filed by the court and in order to provide additional clarification and

consistency to that prior ruling, IT IS HEREBY ORDERED THAT The Inquirer’s

motion to unseal judicial records (Doc. 303) is GRANTED. IT IS ORDERED

THAT:

      1. Documents 294, 295, 296, 298, and 299 will be unsealed;

      2. To the extent these documents and exhibits contain information that

         concerns the privacy interests of nonparties to this litigation, these

         documents shall be unsealed subject to the minimal redactions we have

         outlined in the accompanying memorandum to protect the interests of third

         parties;
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      3. To the extent Document 297, Ex. 30, contains discovery information

          protected under Rule 26, this document should be redacted accordingly.

      4. Counsel shall consult and confer regarding the redactions to be made

          to these documents prior to the documents being unsealed and shall

          provide the court with appropriate, narrowly tailored redactions to

          these documents within 30 days from the date of this order.

      We recognize the significance and gravity of these judgments for all parties.

Therefore, IT IS FURTHER ORDERED as follows: Implementation of this order

will be STAYED for 10 days in order to allow the litigants the opportunity to review

the court’s order and seeks further judicial review of this order, if they deem it

appropriate. Furthermore, with respect to redacted records, if the parties do not seek

further review of this decision, they shall tender copies of stipulated, redacted

records to the clerk for release on the public docket within 30 days from the date of

this order. Finally, this amended order is entered without prejudice to any party

requesting further clarification of our directions and instructions.

      So ordered this 20th day of March 2020.


                                               /s/ Martin C. Carlson
                                               Martin C. Carlson
                                               United States Magistrate Judge




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